Exhibit 6
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of documents attached to this certificate is true and

accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 6/22/2023
                             Beijing City Haidian District People’s Court
                                          Hearing Transcript
Heating time: December 22, 2020          14:00 afternoon
Hearing place: West 3-47 court room
Judge Panel: Chief Judge: Bing Han              People's Jurors: Youcai Lu, Mingquan Liang
Clerk: Yuting Song
The Parties and other litigants:
Plaintiff:     NetQin Infinity (Beijing) Technology Co., Ltd., business place at Beijing City
Haidian District Northeast Wangxi Road No. 8 Yuan, Building No.4, Floor 3, Room 317.
Legal Representative:           Lilin Guo, Chairman
Litigation Representative:      Hua Zhang, Attorney at Beijing Dingye Law Firm
Litigation Representative:      Fengwu Guo, Attorney at Beijing Dingye Law Firm


Defendant:      Zemin Xu, Male, Date of Birth: February 23, 1964, Mandarin, unemployed,
residing at Beijing City Haidian District, Haidian Main Street No. 15, Building 1, Room 1510.
Litigation Representative:      Li Kang, Attorney at Beijing Zhengxin Law Firm.


Court: Plaintiff, do you have any objections to the individuals who appeared on behalf of
Defendant?
Plaintiff: No objections
Court: Defendant, do you have any objections to the individuals who appeared on behalf of
Plaintiff?
Defendant: No objections


[partial of the transcript omitted]


Court: Call for the witness Yingli Liu
(witness appeared)
Court: Witness, please descript your personal inforamtion.
Witness: Yingli Liu, female, date of birth June 23, 1975, Mandarin, unemployed, residing
                                                                           . Phone number
            .
Court: Plaintiff, do you have any objections to the witness’ identity?
Plaintiff: All subject to court verification. Plaintiff is unable to verify whether the witness has ever
worked with the company because Plaintiff has no relevant license to check the records.
Court: Defendant, do you have any objections to the witness’ identity?
Defendant: No objections.


[part of the transcript omitted]


Court: Witness, have you previously worked at Beijing NetQin Tianxia Technology Co. Ltd. and
Bingjing NetQin Infinity Co Ltd.? If so, what was your position and what were your
responsibilities?
Witness: Yes. I was the manager of the fund management department in both Beijing NetQin
Tianxia Technology Co. Ltd. and Bingjing NetQin Infinity Co Ltd and was responsible for the
management of the funds of both companies. I am responsible for the management of the
companies under the group. At first, I signed an employment contract with Beijing NetQin Tianxia
Technology Co. Ltd. and transferred to Bingjing NetQin Infinity Co Ltd (Group company) in 2018.
Court: Witness, how the company's official seal, financial seal, business license, bank seal, account
book, contract, file and other materials are managed.
Witness: I have clear understanding of the part I was responsible for. The official seal, contract
seal, and legal representative seal is managed by the fund management department, there is a seal
management policy, the company's financial seal should be managed at the chief financial officer.
The permission to open a bank account is managed by my department, U shield is managed under
an authority priority order. I am not sure about the company’s books, files, and contract
management, the business license in my impression is managed by legal department.


[part of the transcript omitted]


Plaintiff: Witness, when you left the company on December 31, 2019, Zemin Xu still in the
company?
Witness: Before my resignation, Zemin Xu’s position was not changed, still the CEO. But, he was
not in the company or not, I don’t know.
Plaintiff: Witness,when you left your job, who did you give the company’s official seals, legal
representative seals, and contract seals to?
Witness: Lei Li
Plaintiff: Witness, what was Lei Li’s position at the company?
Witness: Chairman’s assistant. The company I mentioned meant to say the group of companies,
with no distinction of affiliated companies.
Plaintiff: Who is directly in charge of Lei Li?
Witness: Is Wenyong Shi.


[part of the transcript omitted]


Court: Any party has any other opinions?
Plaintiff: No
Defendant: No.
Court: Hearing is closed. Parties should review the transcript and sign it if no mistaks.


[Signature – Li Kang]
12/22/2020


[Signature – Hua Zhang]
12/22/2020
